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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
          v.                                     :    Case No. 21-mj-14
                                                 :
                                                 :
 ANTHIME GIONET,                                 :    VIOLATION:
                                                 :
                         Defendant.              :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                 :    a Capitol Building)
                                                 :
                                                 :
                                                 :

                                    I NFO RMA TI ON

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, ANTHIME GIONET willfully

and knowingly paraded, demonstrated, and picketed in any United States Capitol Building.



       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))


                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052
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                           By:    /s/Elizabeth Aloi_____________
                                  Elizabeth A. Aloi, N.Y. Bar No. 4457651
                                  Christopher B. Brown, D.C. Bar No. 1008763
                                  Assistant United States Attorneys
                                  United States Attorney’s Office for the
                                  District of Columbia
                                  601 D Street, N.W.
                                  Washington, DC 20530
                                  (202) 252-7212 (Aloi)
                                  (202) 252-7153 (Brown)
                                  Fax: (202) 514-6010
                                  Elizabeth.Aloi@usdoj.gov
                                  Christopher.Brown6@usdoj.gov




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